Case 2:16-cv-13174-DML-SDD ECF No. 154 filed 07/29/19      PageID.5064     Page 1 of 3




                  UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
  JOHN DOE, an individual,

         Plaintiff,
  vs.
                                          Case No. 16-cv-13174
  DAVID H. BAUM, et. al.,                 Hon. David M. Lawson
                                          Mag. Stephanie Dawkins
       Defendants.                        Davis
 __________________________________________________________________
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 __________________________________________________________________

       PLAINTIFF’S REPLY TO DEFENDANTS’ OPPOSITION TO
    PLAINTIFF’S MOTION TO FILE SUPPLEMENT REPLY BRIEF IN
     SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:16-cv-13174-DML-SDD ECF No. 154 filed 07/29/19          PageID.5065     Page 2 of 3




        Defendants’ Response elucidates exactly why this Court must grant

 Plaintiff’s Motion for Partial Summary Judgement [Dkt. 138]. The University is

 heavily invested in by-passing the courts and continuing, policy-wise, down any path

 they choose, whenever they choose, as they explain at Page ID 5061-62:

       The University stands ready to adjudicate the charge using
       procedures that comport with due process, including the standards
       announced in Doe v. Baum, 903 F.3d 575 (6th Cir. 2018). At the
       present time, that adjudication would be under the Interim Policy.
       If and when the University’s procedures change, the updated
       procedures will also afford due process consistent with the Sixth
       Circuit’s decision. Plaintiff has no basis to speculate otherwise.
       The University has represented in public statements and court
       filings that, in light of Baum, it will provide hearings with cross-
       examination for allegations of sexual misconduct.

         On July 12, 2019, University spokesman Rick Fitzgerald confirmed the

 University’s intransigence as to the courts publicly:

       “Fitzgerald said the university’s right to control its own policies is
       worth fighting for. ‘We must retain the authority over our policies to
       do that in the best way we know how and we’re willing to fight in court
       to maintain that authority.’…” Ex. B, Gus Burns, UM sexual
       misconduct policy lawsuit has cost $648,380 in legal fees so far,
       MLive (July 12, 2019), https://www.mlive.com/news/2019/07/um-
       sexual-misconduct-policy-lawsuit-has-cost-648380-in-legal-fees-so-
       far.html.
        The fact is that this Court must ensure that the Policy applied to Plaintiff,

  which sets forth the process he will receive, comports with the Sixth Circuit

  required prior any further adjudication against him (if any). Defendants refuse to

  be transparent; they failed to explain to the Court that the Policy they are urging it


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Case 2:16-cv-13174-DML-SDD ECF No. 154 filed 07/29/19          PageID.5066    Page 3 of 3




  to rely on for due process protections is about to replaced and they have yet to share

  the contents of the proposed new policy.

 Dated: July 29, 2019                    Respectfully submitted,
                                         DEBORAH GORDON LAW
                                         /s/Deborah L. Gordon (P27058)
                                         Attorney for Plaintiff
                                         33 Bloomfield Hills Parkway, Suite 220
                                         Bloomfield Hills, Michigan 48304
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                           CERTIFICATE OF SERVICE

        I hereby certify that on July 29, 2019, I electronically filed the foregoing
 document and Exhibit with the Clerk of the Court using the ECF system, which will
 send notification of such filing and service of said documents to all parties through
 their counsel of record.

                                         DEBORAH GORDON LAW
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